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                             UNITED STATES DISTRICT COURT
15                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
16                                SOUTHERN DIVISION
17      DONALD WAKEFIELD,                 )                CASE NO. 8:21-cv-1585-CJC-DFM
18                                        )
                              Plaintiff,  )                The Hon. Cormac Carney
19
                                          )
20            vs.                         )                DEFENDANTS’, OLEN PROPERTIES
                                          )                CORP. AND IGOR OLENICOFF,
21                                                         RESPONSE IN OPPOSITION TO
        OLEN PROPERTIES CORP., IGOR       )
22      OLENICOFF, JOHN LIANG and Does 1 )                 PLAINTIFF’S   MOTION    FOR
23      through 10 inclusive,             )                PARTIAL SUMMARY JUDGMENT
                                          )                Complaint Filed: September 27, 2021
24
                              Defendants. )
25                                                         Hearing Date: January 9, 2023
                                          )
                                                           Hearing Time: 1:30 p.m.
26                                                         Trial Date: February 21, 2023
27
28
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 1             Defendants, OLEN PROPERTIES CORP. and IGOR OLENICOFF, by and through
 2      their undersigned counsel and pursuant to Fed. R. Civ. P. 56(b) and Local Rule 56-1, hereby
 3
        file   their   Response     in   Opposition      to   Plaintiff’s,   DONALD        WAKEFIELD
 4
        (“WAKEFIELD”), Motion for Partial Summary Judgment and, in support, state:
 5
 6                                           I. INTRODUCTION
 7
               Before the instant lawsuit, Plaintiff had twice sued Defendants for copyright
 8
        infringement, in 2012 (“Wakefield I”) and 2017 (“Wakefield II”). The crux of Wakefield II
 9
10      was the discovery of additional copies of Untitled that neither Wakefield nor the
11      Defendants were aware of at the time of the trial in Wakefield I. In Wakefield II, Defendants
12      admitted and put Plaintiff on notice that they had no independent recollection, inventory,
13
        records, or other method of unequivocally identifying the total number of pieces of the
14
15      subject sculptures. On or about January 18, 2018, the parties executed a Settlement

16      Agreement and Mutual General Release (the “Settlement Agreement”), the purpose of
17      which was “to settle and compromise all disputes and controversies existing among the
18
        Parties” with Defendants paying the Plaintiff $110,000.00, which was additional to
19
        $450,000 previously paid pursuant to the judgment in Wakefield I.
20
21             Notwithstanding the Settlement Agreement, Plaintiff brought the instant action
22      against Defendants claiming, for a third time, copyright infringement of the same copyright
23
        which was the subject matter of Wakefield I, Wakefield II, and the Settlement Agreement,
24
        this time adding factually void allegations of fraud and RICO. Specifically, Plaintiff is
25
26      asserting claims over two sculptures in Boynton Beach, Florida that Plaintiff asserts have
27      been on public display since 2014 (the “Boynton Beach sculptures”).
28                                                       1
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 1            Plaintiff’s claims fail as a matter of law because:
 2
                     (1) determination regarding the enforceability of the Settlement
 3            Agreement is a predicate to deciding any of Plaintiff’s claims for copyright
 4            infringement. If the Court agrees with Defendant’s position, the case ends
              there. If the Court finds any merit to Plaintiff’s position that the Settlement
 5            Agreement should be rescinded due to fraud, Plaintiff is not entitled to
 6            summary judgment on his claims because factual issues exist;
 7
                    (2) they are barred by the Settlement Agreement, in which the parties
 8            declared their intention to release all claims, including unknown or
 9            unsuspected claims and all future claims;
10                  (3) they are barred by the statute of limitations, as the claims accrued
11            in 2014 and Plaintiff did not bring the instant lawsuit until 2021; and
12
                    (4) Plaintiff has failed to establish any facts showing willfulness or
13            fraud on the part of either of the Defendants to justify rescinding the
14            Settlement Agreement. As such, his Motion for Partial Summary Judgment
              must be denied.
15
16             II. RESPONSE TO STATEMENT OF UNCONTROVERTED FACTS
17            Pursuant to Local Rule 56-1, Defendants have simultaneously filed a Statement of
18
        Genuine Disputes, which is expressly adopted and incorporated herein by reference.
19
20            III. LEGAL STANDARD ON MOTION FOR SUMMARY JUDGMENT

21            Summary judgment is only appropriate where “there is no genuine dispute as to any
22
        material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
23
        56(a). The moving party bears the initial burden of identifying relevant portions of the
24
25      record that demonstrate the absence of a fact or facts necessary for one or more essential
26      elements of each claim upon which he seeks judgment. See Celotex Corp. v. Catrett, 477
27      U.S. 317, 323 (1986). If, and only if, the moving party meets its initial burden, the opposing
28                                                    2
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 1      party must then set out specific facts to establish a genuine issue to defeat the motion.
 2      Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986). When deciding a motion for
 3
        summary judgment, “the inferences to be drawn from the underlying facts . . . must be
 4
        viewed in the light most favorable to the party opposing the motion.” Matsushita Elec.
 5
 6      Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (citation omitted). Summary
 7      judgment for the moving party is not proper unless a rational trier of fact would not be able
 8
        to find for the nonmoving party on the claims at issue. Id. A genuine dispute of a material
 9
        fact is “one that could reasonably be resolved in favor of either party.” Ellison v. Robertson,
10
11      357 F.3d 1072, 1075 (9th Cir. 2004).
12         IV. PLAINTIFF IS NOT ENTITLED TO SUMMARY JUDGMENT ON HIS
13                     CLAIM FOR COPYRIGHT INFRINGEMENT
14          A. Plaintiff’s Claims Fail as a Matter of Law Because the Settlement Agreement
15                         Entered into Between the Parties Precludes His Claims
16
              First and foremost, determination regarding the enforceability of the Settlement
17
        Agreement is a predicate to deciding any of Plaintiff’s claims for copyright infringement.
18
19      If the Court agrees with Defendant’s position that the Settlement Agreement is
20      unambiguous and the release contained therein encompasses all claims that were brought,
21      could have been brought, or may be brought by Wakefield, including the instant lawsuit,
22
        as argued below, the case ends there. If the Court does not agree with Defendants’ position
23
24      and finds any merit to Plaintiff’s position that the Settlement Agreement should be

25      rescinded due to fraud, Plaintiff is not entitled to summary judgment on his claims. For
26      one, Plaintiff has not moved for summary judgment on his claim for Fraud in the
27
        Inducement to overcome the Settlement Agreement. Moreover, under California law,
28                                             3
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 1      whether a plaintiff reasonably relied on representations is ordinarily a question of fact and
 2      creates a genuine issue of material fact, precluding summary judgment on a fraud claim.
 3
        Swafford v. Int'l Bus. Machines Corp., 408 F. Supp. 3d 1131, 1146–47 (N.D. Cal. 2019).
 4
        See also Cal. Civ. Code § 1574 (whether fraud has occurred “is always a question of fact”).
 5
 6             Plaintiff’s claims in the Complaint are barred because the terms of Settlement
 7      Agreement are unambiguous, and the various release provisions are extremely broad and
 8
        encompassing of all claims that were brought, could have been brought, or may be brought
 9
        by Wakefield against the Defendants.
10
11             First, Paragraph 3.1 entitled “General Release by Wakefield” provides:
12                    Wakefield . . . forever releases and discharges the Olen Parties . . .
13                    from any and all claims, demands, debts, liabilities, accounts,
                      obligations, costs, expenses, liens, actions, cause of action (at law, in
14                    equity, or otherwise), rights, rights of action, rights of indemnity (legal
15                    or equitable), rights to subrogation, rights to contribution and remedies
                      of any nature whatsoever, known or unknown, . . . suspected or
16
                      unsuspected, that Wakefield may have against the Olen Parties,
17                    including, but not limited to any actions relating directly or indirectly
18                    to any transactions, affairs or occurrences between them to date,
                      including, but not limited to all loss, liability, damages, claims, charges,
19                    complaints or demand and including any claims set [sic] related to the
20                    causes of action for copyright infringement as set forth in the
                      Wakefield Actions.” SGD 1 at ¶7 (emphasis added).
21
22             Also, Paragraph 1.2 provides:
23                    The purpose of this Agreement is to settle and compromise all disputes
24                    and controversies existing among the Parties hereto, including but not
25
26      1
         Referring to Defendants’, Olen Properties Corp. and Igor Olenicoff, Statement of Genuine Disputes in
27      Opposition to Plaintiff’s Motion for Partial Summary Judgment (hereinafter “SGD”) filed with this
        Motion.
28                                                        4
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 1                   limited to any and all claims that are raised or might have been raised
 2                   in the 2017 Action.” SGD at ¶3 (emphasis added).

 3            Paragraph 2.3 provides:
 4
                     Wakefield covenants and represents that he has not filed any
 5                   complaints, grievances, charges, or lawsuits against the Olen Parties,
 6                   with any governmental agency or court, and that he will not do so at
                     any time hereafter, with respect to the matters released under this
 7
                     Agreement . . . .” SGD at ¶6 (emphasis added).
 8
 9            Paragraph 4.1(b) provides:
10                   Wakefield is, through this Agreement, releasing the Olen Parties from
11                   any and all claims he may have against them . . .” SGD at ¶19-20
                     (emphasis added).
12
13            The Federal Circuit construed similar release language in Augustine Med., Inc. v.
14      Progressive Dynamics, Inc., and noted that the release included “very broad language,
15
        such as ‘release and forever discharge,’ ‘any and all manner of action or actions,’ ‘relating
16
17      to any acts, omissions or statements made [ ],’ and ‘including, but not limited to, any and

18      all claims that were or could have been asserted [ ] in the [present lawsuit].’ General
19      language such as these phrases have consistently been held by the courts to constitute a
20
        waiver . . . of all ‘claims based upon events occurring prior to the date of the release.’” 194
21
        F.3d 1367, 1371 (Fed. Cir. 1999) (quoting Johnson, Drake & Piper, Inc. v. United States,
22
23      531 F.2d 1037, 1047 (1976)). The Ninth Circuit also construed similar release language in
24      a federal copyright case. See Marder v. Lopez, 450 F.3d 445, 449 (9th Cir. 2006) (release
25
        “of and from each and every claim” is “exceptionally broad” and constitutes a waiver of
26
        all claims within the scope of the language). The exceptionally broad release language
27
28                                                      5
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 1   present in the Settlement Agreement between Plaintiff and Defendants shows their intent
 2   to waive all claims between them.
 3
           Second, the plain meaning of the release language unequivocally demonstrates that
 4
     the parties intended for all “known or unknown” and “suspected or unsuspected” claims to
 5
 6   be included and extinguished by the release. Paragraph 3.1 of the Settlement Agreement
 7   specifically states that “Wakefield . . . forever releases and discharges the Olen Parties . . .
 8
     from any and all claims, . . . and remedies of any nature whatsoever, known or unknown
 9
     (except for those arising as a result of a breach of any provision of this Agreement),
10
11   suspected or unsuspected that Wakefield may have against the Olen Parties, . . .” SGD at
12   ¶7, 9-10 (emphasis added). Paragraph 3.3 provides that “the releases provided for in this
13   Agreement extend to all claims, whether or not claimed or suspected . . . .” SGD at ¶16.
14
           California courts have construed similar release language to include all claims
15
16   between the parties. In Winet v. Price, the court reviewed the lower court’s granting of

17   summary judgment for defendant that an earlier settlement agreement and general release
18   between the parties precluded the present claims. The release at issue “provided for release
19
     of ‘any and all ... claims, ... damages and causes of action whatsoever, of whatever kind or
20
     nature, whether known or unknown, or suspected or unsuspected . . .’” 4 Cal. App. 4th
21
22   1159, 1162-63 (1992). The court held that the inclusion of that language meant that “the
23   release was designed to extinguish all claims extant among the parties” and that “Winet
24
     expressly assumed the risk of unknown claims.” Id. at 1168. Also, the court would not look
25
     to parol evidence, as it is “admissible only to prove a meaning to which the language is
26
27   ‘reasonably susceptible,’ not to flatly contradict the express terms of the agreement.” Id. at
28                                                   6
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 1   1167 (internal citations omitted). If any credence was given to an argument that a release
 2   of unknown or unsuspected claims was not intended to include unknown or unsuspected
 3
     claims, a release could never effectively encompass unknown claims. Id.
 4
           Importantly, Defendants did not install the Boynton Beach sculptures after entering
 5
 6   into the Settlement Agreement. They were in place in 2014. SGD at ¶33. Thus, it was not
 7   a future act. Rather, it was a later-discovered unknown or unsuspected claim when entering
 8
     into the Settlement Agreement. Also, in Wakefield II, Plaintiff alleged that Defendants
 9
     failed to disclose the location of all copies of Untitled. At the time the parties entered into
10
11   the Settlement Agreement, Plaintiff had a pending Motion for Sanctions for Defendants’
12   failure to disclose additional copies in Wakefield I in which Defendants responded by
13   advising that they had no documentation with which to accurately verify the number or
14
     location of sculptures which had been delivered as much as a decade earlier. SGD at ¶63-
15
16   64. Plaintiff was on notice that there could be additional sculptures and that the release

17   was full and final as it related to the copyright at issue, for known and unknown claims.
18         Third, the plain meaning of the waiver of rights under Civil Code § 1542 is further
19
     evidence that the parties intended for all claims to be extinguished, including unknown and
20
     unsuspected claims. The 1542 waiver in the Settlement Agreement states that the parties
21
22   “understand that the releases provided for in this Agreement extend to all claims, whether
23   or not claimed or suspected, up to and including the date of execution hereof, and constitute
24
     a waiver of each and all of the provisions of [Code Section 1542].” SGD at ¶16. The parties
25
     also “acknowledge that the effect and import of this provision has been fully explained to
26
27   them and that they are aware of its contents and legal effect.” SGD at ¶16.
28                                                   7
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 1         The Winet court discussed a similar explicit 1542 waiver and that the client had
 2   advice of independent counsel. 4 Cal. App. 4th at 1163–64. In Winet¸ the release stated that
 3
     it applied “TO ALL UNKNOWN OR UNANTICIPATED RESULTS OF THE
 4
     TRANSACTIONS AND OCCURRENCES DESCRIBED ABOVE, AS WELL AS
 5
 6   THOSE KNOWN AND ANTICIPATED, and upon advice of legal counsel, all Parties do
 7   hereby waive any and all rights under California Civil Code § 1542, which section has been
 8
     duly explained . . . .” Id. Under those circumstances, where the parties were represented by
 9
     counsel who explained the import of the release in general and of the waiver of section
10
11   1542 in particular, the parties expressly assumed the risk of unknown claims. Id. See also
12   United States ex rel Giles v. Sardie, 191 F. Supp. 2d 1128, 1134 (C.D. Cal. 2000) (granting
13   summary judgment where “it is hard to imagine a more clearly worded statement of the
14
     parties' intentions with regard to unknown claims” and the express 1542 waiver was
15
16   “further evidence” of the parties' intentions to include all unknown claims). Accordingly,

17   as in Winet, the parties plainly intended this clear and direct language to be effective and
18   to release all claims, known or unknown, suspected or unsuspected. SGD at ¶17.
19
           Fourth, the plain meaning of the release language unequivocally shows the parties
20
     intended for future claims to be extinguished. Under Paragraph 2.3, Wakefield covenanted
21
22   and agreed that he had not filed any lawsuits with respect to the matters released under the
23   Settlement Agreement “and that he will not do so at any time hereafter.” SGD at ¶6
24
     (emphasis added). Under Paragraph 3.1, Wakefield “forever releases and discharges the
25
     Olen Parties . . . from any and all claims . . . that Wakefield may have against the Olen
26
27
28                                                  8
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 1   Parties” SGD at ¶7 (emphasis added). Under Paragraph 4.1(b), Wakefield released “the
 2   Olen Parties from any and all claims he may have . . .” SGD at ¶19.
 3
           Courts have found that ‘may have’ language bars future claims. See e.g. Augustine
 4
     Med., 194 F.3d at 1371. “[T]he phrase ‘may have’ is necessarily future-oriented. In the
 5
 6   context of the Settlement Agreement, it implies a future possibility” of having a claim. Id.
 7   (emphasis in original). Because “may have” language is “prospective in nature,” its
 8
     inclusion in the settlement agreement barred future claims that arose after the date of the
 9
     settlement agreement that were related to actions taken on or before the date of the
10
11   settlement agreement. Id. See also Fire Insurance Exchange v. HAGD, Inc., 2003 WL
12   1521898, at *4 (Cal. Ct. App., Mar. 25, 2003, No. F039989) (interpreting “has, may have
13   or may claim to have” language as applying only to claims existing at the time of execution
14
     is “logically and linguistically unsound.”
15
16         Also, the phrase “hereafter” as used in Paragraph 2.3 shows an intent to apply to

17   future claims. SGD at ¶6. In Kim Laube & Co., Inc. v. Wahl Clipper Corp., the release at
18   issue included claims that they “may now or hereafter have.” LACV0900914JAKJCX,
19
     2013 WL 12084741, at *10 (C.D. Cal. Mar. 8, 2013). “May” indicates an intent to include
20
     uncertain claims and thus includes unknown claims. “Hereafter” indicates an intent to
21
22   include future claims. “If the Release had been designed to include only claims known []
23   at the time that the Release was signed, this language would have been unnecessary.” Id.
24
           The terms of Settlement Agreement are unambiguous, extremely broad and all, and
25
     encompassing of all claims. As such, Plaintiff’s current claims are barred, as they were
26
27   released under the Settlement Agreement.
28                                                  9
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 1           B. Plaintiff’s Copyright Claims are Barred by the Statute of Limitations
 2
           A three-year statute of limitations applies to civil actions for copyright infringement.
 3
     See 17 U.S.C.A. § 507(b) (“[n]o civil action shall be maintained under the provisions of
 4
 5   this title unless it is commenced within three years after the claim accrued”). See also Polar
 6   Bear Prods., Inc. v. Timex Corp., 384 F.3d 700, 706 (9th Cir. 2004) as amended on denial
 7
     of reh'g and reh'g en banc (Oct. 25, 2004) (copyright claim must be filed within three years
 8
     after accrual). In Petrella v. Metro-Goldwyn-Mayer, Inc., the United States Supreme Court
 9
10   explained that “the limitations period generally begins to run at the point when ‘the plaintiff
11   can file suit and obtain relief.’ A copyright claim thus arises or ‘accrue[s]’ when an
12   infringing act occurs.” 572 U.S. 663, 670 (2014). Thus, under the Copyright Act's three-
13
     year limitations period, an infringement is only actionable within three years of its
14
15   occurrence, and “the infringer is insulated from liability for earlier infringements of the

16   same work.” Id. at 671.
17         Here, Plaintiff’s claim is founded on the allegation that Defendants violated
18
     Plaintiff’s copyright by publicly displaying the Boynton Beach sculptures, which is in
19
     violation of 17 U.S.C. § 106(5). See Plf’s MPSJ at p. 10. Under 17 U.S.C. § 101, the
20
21   statutory definition of “display[ing] a work publicly” is to display the work “at a place open
22   to the public” 17 U.S.C. § 101. As Plaintiff states in his Motion, “Olen public displayed
23
     Human Nature’s Many Facts and A Tear Must Fall on its commercial property at Quantum
24
     Town Center, in Boynton Beach, Florida, from 2014 until sometime in 2021, without
25
26   authorization.” See Plf’s MPSJ at p. 6. See also SGD at ¶33. Thus, Plaintiff concedes that
27   his claims arose when Defendants allegedly “publicly displayed” the two Boynton Beach
28                                                  10
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 1   sculptures at Quantum Town Center and that Quantum Town Center qualifies as a place
 2   open to the public. Plaintiff also concedes that Defendants did not conceal the sculptures
 3
     (otherwise they would not have been deemed on public display). Finally, Plaintiff concedes
 4
     that the public display started in 2014. SGD at ¶33. Therefore, under the Copyright Act,
 5
 6   the public display began in 2014, and thus the purported infringing act occurred in 2014.
 7   Plaintiff’s claims for copyright infringement are time barred, as they were on display more
 8
     than three years before the institution of this lawsuit.
 9
           While Plaintiff may argue that his claims did not begin to run until he discovered the
10
11   Boynton Beach sculptures in 2021, this argument is without merit. Where a party discovers,
12   or reasonably should have discovered, an alleged infringement, the limitations period
13   begins to run. Oracle Am., Inc. v. Hewlett Packard Enter. Co., 971 F.3d 1042, 1047 (9th
14
     Cir. 2020) (quoting Media Rights Techs., Inc. v. Microsoft Corp., 922 F.3d 1014, 1022 (9th
15
16   Cir. 2019)) (emphasis added). See also Roley v. New World Pictures, Ltd., 19 F.3d 479,

17   481 (9th Cir.1994) (In the Ninth Circuit, the term “accrue,” as it is used in § 507(b), has
18   been held to be the moment when the copyright holder “has knowledge of a violation or is
19
     chargeable with such knowledge.”)(emphasis added).
20
           The Ninth Circuit has held that a plaintiff is “deemed to have had constructive
21
22   knowledge if it had enough information to warrant an investigation which, if reasonably
23   diligent, would have led to discovery of the [claim].’” Oracle Am., Inc., 971 F.3d at 1047
24
     (quoting Pincay v. Andrews, 238 F.3d 1106, 1110 (9th Cir. 2001)). As such, “‘suspicion’
25
     of copyright infringement ‘place[s] upon [the plaintiff] a duty to investigate further into
26
27   possible infringements of [its] copyrights.’” Id. at 1047-1048 (citations omitted) (emphasis
28                                                  11
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 1   added). This is the case even when a plaintiff does not actually conduct a further
 2   investigation. “‘[E]quity will impute to [the plaintiff] knowledge of facts that would have
 3
     been revealed by reasonably required further investigation.’” Id. (quoting Wood, 705 F.2d
 4
     at 1521). Under these circumstances, a plaintiff also cannot attempt to argue that a
 5
 6   defendant fraudulently concealed infringement when that plaintiff had constructive
 7   knowledge of the facts giving rise to the claim. Id. (citing Hexcel Corp. v. Ineos Polymers,
 8
     Inc., 681 F.3d 1055, 1060 (9th Cir. 2012).
 9
           The case of Oracle America, Inc. v. Hewlett Packard Enterprise Company is
10
11   particularly instructive here. In that case, Oracle conceded that it “had concerns” about
12   potential copyright infringement as early as 2010. 971 F.3d at 1048. It also conceded that
13   it made inquiries after receiving reports of potential copyright infringement. Id. In that case,
14
     the Ninth Circuit held that Oracle therefore had a duty to conduct a reasonable
15
16   investigation.   Likewise, in the instant case, Plaintiff clearly had concerns about

17   infringement as he filed Wakefield I and Wakefield II. Also, Plaintiff admitted that he
18   undertook an investigation of Olen’s various properties to search for purported copies of
19
     his sculpture, including in California, Nevada, and Florida. SGD at ¶37. Plaintiff’s
20
     investigation occurred sometime around 2012, 2013, or 2014, and no one prevented him
21
22   from doing additional investigation in later years, including 2015, 2016, 2017, or 2018,
23   including when he discovered the additional copies that led to Wakefield II or prior to
24
     entering into the Settlement Agreement. SGD at ¶38. Finally, in the Declaration in Support
25
     of the Response to Plaintiff’s Motion for Sanctions in Wakefield II, Defendants admitted
26
27   and put Plaintiff on notice that they had no independent recollection, inventory, records, or
28                                                  12
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 1   other method of unequivocally identifying the total number of pieces of the subject
 2   sculptures. SGD at ¶64.
 3
           Accordingly, Plaintiff had constructive knowledge and thus had a duty to investigate
 4
     to discover the Boynton Beach sculptures that had been on display, as Plaintiff alleges,
 5
 6   since 2014. His failure to undertake a further investigation at the time cannot be used
 7   prevent the running of the statute of limitations. Further, there is no evidence of
 8
     concealment. Plaintiff was able to find the sculptures upon a diligent search and has not
 9
     presented any evidence in discovery that demonstrates that he was prevented from finding
10
11   the sculptures prior to releasing all claims in the Settlement Agreement in 2018. As such
12   his claims are time barred.
13        C. Plaintiff Has Not Met His Burden to Show that He is Entitled to Summary
14                             Judgment on the Issue of Infringement
15
                           i. Infringement is an Issue of Fact for Trial
16
17         To establish a claim for copyright infringement, a plaintiff must show that 1) he
18   owns the copyright in the allegedly copied work; 2) defendant had access to the work; and
19   3) plaintiff's and defendant's works are substantially similar. Frybarger v. Int'l Bus.
20
     Machines Corp., 812 F.2d 525, 528 (9th Cir. 1987). The plaintiff bears the burden of
21
22   proving substantial similarity. Id. This is a fact-specific inquiry. Benay v. Warner Bros.

23   Entertainment, Inc., 607 F.3d 620, 624 (9th Cir. 2010). Thus, summary judgment is “not
24   highly favored” on questions of substantial similarity. Folkens v. Wyland Worldwide, LLC,
25
     882 F.3d 768, 774 (9th Cir. 2018).
26
27
28                                                 13
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 1         Here, Plaintiff has not submitted any evidence to support his present claims. Rather,
 2   he requests that the Court adopt the findings of the jury in Wakefield I. However, as this
 3
     Court addressed in its October 14, 2022 Order Granting Plaintiff’s Motion to Dismiss
 4
     Count III of Defendants’ Counterclaims and Strike Affirmative Defenses of Invalidity, “the
 5
 6   issue in this case of whether the Florida sculptures infringe Plaintiff’s Untitled copyright
 7   was not decided in Wakefield I; the validity of Plaintiff’s Untitled copyright was.” 10/14/22
 8
     Order [Dkt. 91] at p. 5. Accordingly, Plaintiff still has the burden to prove his claims for
 9
     copyright infringement, contributory copyright infringement, and vicarious copyright
10
11   infringement, and he has not met his burden at this stage.
12                                          ii. No Damages
13
           Under § 504(b, actual damages must be suffered “as a result of the infringement.”
14
15   17 U.S.C. § 504(b). A causal link between the infringement and the monetary remedy

16   sought is a predicate to recovery of actual damages. Polar Bear Productions, Inc. v. Timex
17   Corp., 384 F.3d at 708. Thus, courts apply general tort principles of causation and damages.
18
     Oracle USA, Inc. v. SAP AG, 2010 WL 334446, *1 (N.D. Cal. 2010) (citing Polar Bear,
19
     384 F.3d at 708). See also Jarvis v. K2 Inc., 486 F.3d 526, 533–34 (9th Cir. 2007)). This is
20
21   Plaintiff’s burden to prove. Id. Under this framework, “actual damages are generally
22   determined by the loss in the fair market value of the copyright, ‘measured by the profits
23
     lost due to the infringement or the value of the use of the copyrighted work to the
24
     infringer.’” Id. at *2 (quoting Polar Bear, 384 F.3d at 708). “Excessively speculative
25
26   claims of damages are to be rejected.” Id. (quoting Jarvis, 486 F.3d at 534).
27
28                                                 14
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 1         Plaintiff has not supported his claims with any evidence of actual damages.
 2   Regarding the sculpture at issue in this case, Untitled, Plaintiff testified that he never sold
 3
     it. Rather, he only received compensation for his time in creating the sculpture from the
 4
     co-designer, Joseph Glickman. SGD at ¶39. Plaintiff also testified that he did not know if
 5
 6   it had been resold. SGD at ¶40. Further, Plaintiff testified that he has not sold a sculpture
 7   through an art gallery and that he has not sold or contributed a sculpture through a public
 8
     art program in more than ten years. SGD at ¶41-42. He has not received compensation for
 9
     sale of any sculpture or any other art in about ten years. SGD at ¶43. Any value that Plaintiff
10
11   assigns to the Boynton Beach sculptures is entirely speculative, as there is no market for
12   his sculptures. Plaintiff has also not disclosed any expert to testify to actual damages. Under
13   the applicable tort principles of causation and damages, Defendants purported infringement
14
     has not caused Plaintiff any actual damages. Accordingly, Plaintiff’s claims fail.
15
16                  V. CONTRIBUTORY COPYRIGHT INFRINGEMENT

17         For the reasons set for in Section IV above, Plaintiff is also not entitled to summary
18
     judgment on his claim for Contributory Copyright Infringement.
19
                       VI. VICARIOUS COPYRIGHT INFRINGEMENT
20
21         For the reasons set for in Section IV above, Plaintiff is also not entitled to summary
22   judgment on his claim for Contributory Copyright Infringement.
23
             VII. THERE IS NO LIABILITY FOR WILLFUL COPYRIGHT
24      INFRINGEMENT AND NO ENTITLEMENT TO STATUTORY DAMAGES
25
            A. There is No Willful Conduct and Plaintiff’s Case Law is Distinguishable
26
27
28                                                  15
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 1         Plaintiff is not entitled to damages under § 504(c)(2) for willful infringement.
 2   “Willful” means acting with knowledge that one's conduct constitutes copyright
 3
     infringement. 17 U.S.C. § 504(c)(2); Dolman v. Agee, 157 F.3d 708, 715 (9th Cir. 1998).
 4
     A person who believes reasonably and in good faith that conduct does not constitute
 5
 6   infringement does not act willfully. Societe Civile Succession Guino v. Renoir, 305 Fed.
 7   Appx. 334, 339 (9th Cir. 2008), as amended on denial of reh'g (Apr. 1, 2009) (citing Peer
 8
     Int'l. Corp. v. Pausa Records, Inc., 909 F.2d 1332, 1336 (9th Cir.1990). Here, Plaintiff
 9
     does not have evidence of willfulness.
10
11         Mr. Olenicoff was not aware or did not remember that the sculptures in Boynton
12   Beach existed (SGD at ¶51), that he did not have any recollection of whether either
13   sculpture was on public display at Quantum Town Center in Boynton Beach, Florida (SGD
14
     at ¶48-49), and that he did not know when either sculpture was first placed on public
15
16   display at Quantum Town Center (SGD at ¶50). He entered into the Settlement Agreement

17   in good faith and without an intent to deceive and with the understanding that it would
18   forever end all claims with Mr. Wakefield. SUF at ¶26-28. Olen Properties corporate
19
     representative, Dale Lyon, testified that the only individual involved with the installation
20
     in Boynton Beach was Alfred Lafave. SGD at ¶56. Mr. Lafave left employment with Olen
21
22   Properties around March 14, 2014. SGD at ¶58-59. He was no longer employed at the time
23   that the Judgment was entered nor when the Settlement Agreement was negotiated or
24
     signed to impute his knowledge to Olen or Olenicoff, nor for anyone at Olen to ask him
25
     about that process. SGD at ¶58-59. Accordingly, at the time of the Judgment for injunctive
26
27
28                                                 16
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 1   relief in Wakefield I, neither Mr. Lyon nor anyone else employed by Defendants at that
 2   time, was aware that the sculptures were on display at Quantum Town Center. SGD at ¶52.
 3
           Also, Plaintiff did not have any facts to contest this testimony. At the time of entering
 4
     into the Settlement Agreement, he was not aware of any facts that Mr. Olenicoff or Olen
 5
 6   Properties knew of the existence of any sculptures similar to Untitled other than those that
 7   were the subject of Wakefield I and II. (SGD at ¶68); that Mr. Olenicoff was personally
 8
     aware of what sculptures were at Quantum Town Center in Boynton Beach, Florida (SGD
 9
     at ¶60); or that Mr. Olenicoff or Olen Properties hid the existence of sculptures in Boynton
10
11   Beach. (SGD at ¶69). Moreover, Plaintiff testified that he is not aware of any facts to
12   dispute that “the pieces ordered from China were received in various shipments, that there
13   were complications with the orders, and that sometimes the shipments included things that
14
     were not ordered (SGD at ¶65); that neither Mr. Olenicoff or Olen Properties maintained
15
16   records of what items were received from China or the locations where sculptures were

17   installed (SGD at ¶66); or that Olen Properties does not maintain any inventory of artwork
18   or sculptures (SGD at ¶67). Finally, Mr. Wakefield does not have any facts that Olen
19
     Properties was aware of the exact number and location of pieces of art sold to it by the
20
     Chinese artist (SGD at ¶61), or that Defendants intentionally hid sculptures (SGD at ¶62).
21
22         Moreover, Wakefield’s Answers to Interrogatories do not provide any further facts
23   to support his allegations. Wakefield asserts only that he “believes that Olenicoff was
24
     aware of the infringing sculptures being installed in 2014.” SUF at ¶70-71. Nothing more
25
     was asserted, and Plaintiff has not presented any other evidence.
26
27
28                                                 17
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 1         Defendant Olen Properties and its subsidiaries employ around 400 individuals and
 2   have 150 projects, with 6 million square feet of office space and 17,000 apartments across
 3
     the country. SUF at ¶44-46. It is not unreasonable that they would not have had any
 4
     independent recollection of the Boynton Beach sculptures or knowledge that they were
 5
 6   publicly displayed. In fact, there are hundreds of pieces of artwork and sculptures at Olen
 7   headquarters alone. SUF at ¶47. Also, the Settlement Agreement does not have a provision
 8
     requiring Defendants to investigate whether additional sculptures exist or locations of said
 9
     sculptures or wherein Defendants made any representations that they undertook an
10
11   investigation as to the location of additional potential sculptures. SUF at ¶24-25.
12         Moreover, in the absence of any evidence of willfulness or fraud, Plaintiff is bound
13   by the provisions of the Settlement Agreement, which provides at Paragraph 5.5 provides:
14
           “This Agreement contains the sole and entire agreement and understanding of
15         the Parties with respect to the entire subject matter hereof, and any and all
16         prior discussions, negotiations, commitments and understandings related
           hereto are hereby merged herein. No representations, oral or otherwise,
17
           express or implied, other than those contained herein have been made by any
18         party hereto . . .”
19
20   SUF at ¶21. The import of this provision was to bind the parties only to those
21   representations and understandings contained within the Settlement Agreement. SUF at
22   ¶22. “There cannot be justifiable reliance on precontractual representations when there is
23
     a merger clause in the contract. As a result, a fraud claim based on precontractual
24
25   representations cannot be sustained when the contract has a merger clause.” DeKellis v.

26   Microbilt Corp., 131 F.3d 146 (9th Cir. 1997) (internal citations omitted).
27
28                                                 18
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 1         Plaintiff asserts that courts repeatedly find willfulness as a matter of law. However,
 2   the cases cited by Plaintiff are distinguishable in that they dealt with circumstances where,
 3
     despite a known copyright, a defendant ignored the copyright and continued to copy or
 4
     distribute the copyrighted work. See Peer Intern. Corp. v. Pausa Records, Inc., 909 F.2d
 5
 6   at 1335-36 (finding willfulness because there was deposition testimony that defendants
 7   received an unambiguous notice of termination of licenses should they fail to pay royalties,
 8
     that defendants then failed to account for and pay royalties, and that they ignored the
 9
     revocation and continued to manufacture and distribute the copyrighted phonorecords);
10
11   Dolman, 157 F.3d at 715 (finding willfulness where the purported infringer knew that there
12   was a question as to the ownership of song copyrights, was told by counsel that the situation
13   was “a mess,” and was presented with evidence that the copyright owner was the true
14
     owner). In contrast, here, there is no evidence that Defendants knew about the copyrighted
15
16   work when the pieces were originally ordered or that they have any information about the

17   sculptures.
18         Further, while Plaintiff argues that other courts have found willfulness on less
19
     compelling facts, the cases cited by Plaintiff to support his position are factually and legally
20
     distinguishable. In each case cited by Plaintiff, there was continued distribution or copying
21
22   of products like songs, DVDs, and garments. There were future acts after there was a
23   known copyright. None of those cases dealt with a situation similar to that with which the
24
     Court is presented in the instant lawsuit – namely, where a sculpture was placed on public
25
     display, a single act, in the past. SGD at ¶33. Further, in the instant case, Defendants
26
27   immediately removed the Boynton Beach sculptures once they were placed on notice of
28                                                  19
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 1   the current lawsuit (See SGD at ¶55), whereas in each of the cases cited by Plaintiff, the
 2   party continued to infringe, even after notice. See L.A. Printex Indus., Inc. v. Lia Lee, Inc.,
 3
     CV 08-1836ODW(PJWX), 2009 WL 789877, at *7 (C.D. Cal. Mar. 23, 2009) (still
 4
     offering infringing garments for sale nearly seven months after receiving cease and desist
 5
 6   letter); Wall Mountain Co., Inc. v. Edwards,. C 08-2579 PVT, 2010 WL 4940778, at *2
 7   (N.D. Cal. Nov. 30, 2010) (continuing to sell copyrighted DVDs after being notified of
 8
     Plaintiff's copyright claims to the DVDs); Broad. Music, Inc. v. Crawford, 1:12-CV-01903-
 9
     JLT, 2014 WL 1285660, at *6 (E.D. Cal. Mar. 28, 2014) (defendant knew she lacked
10
11   authorization to play plaintiff’s copyrighted music because a representative for plaintiff
12   telephoned defendant on twenty-two occasions, and on a number of those occasions, spoke
13   to persons associated with the establishment's operation); Sega Enter. Ltd. v. MAPHIA, 948
14
     F.Supp. 923, 936 (N.D.Cal.1996) (operator of electronic bulletin board from which users
15
16   could copy copyrighted videogames knowingly allowed the users to upload and download

17   games, expressly solicited others to upload games to his bulletin board, and sold or planned
18   to sell copiers used to play games); Atl. Recording Corp. v. Media Group, Inc.,
19
     CV0006122FMCMCX, 2001 WL 37132610, at *5 (C.D. Cal. Aug. 14, 2001) (defendant
20
     acknowledged need to screen customer orders for suspected copyright infringement, that it
21
22   had the ability to determine who owned a copyright to a sound recording and chose not to,
23   and that it did not necessarily stop filling orders once it became aware that a customer
24
     sought to have an infringing order manufactured).
25
           Finally, Plaintiff has made an unsubstantiated claim that Defendants concealed their
26
27   infringement. This is a nonsensical position in that the Boynton Beach sculptures were, as
28                                                  20
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 1   Plaintiff concedes in his Complaint, on public display. Plaintiff has not submitted any
 2   evidence that Defendants concealed the infringement by hiding the sculptures or making
 3
     them inaccessible to the general public, as was the circumstance in the case cited by
 4
     Plaintiff to support his argument, Sanrio, Inc. v. Ronnie Home Textile, Inc.
 5
 6   CV1406369RSWLJEMX, 2016 WL 5956096, at *9 (C.D. Cal. Jan. 5, 2016) ((finding
 7   willfulness as a matter of law where defendants took steps to conceal their infringement by
 8
     “by storing the infringing merchandise in a separate part of Defendants' store, concealed in
 9
     opaque packaging, and not accessible to the general public …. [and] accessible only to
10
11   Defendants' employees and customers who had gained Defendants' trust”). Rather, the
12   evidence shows that Defendants were unaware of the Boynton Beach sculptures and thus
13   of any purported infringement to establish that such infringement was willful.
14
                      B. Defendants Did Not Violate the Permanent Injunction
15
16         First, Defendants did not violate the Permanent Injunction, and the Ninth Circuit has
17
     already interpreted what injunctive relief was ordered in the Judgment. In its March 6, 2017
18
19   Memorandum, the Ninth Circuit ruled, inter alia, that the “district court did not abuse its
20   discretion in ordering the destruction of the six infringing sculptures, . . .” See SGD at ¶75
21
     (emphasis added). Based on the ruling from the Ninth Circuit, it is clear that the intent of
22
23   the injunction entered as part of the Judgment was to address the six sculptures that were
24
     at issue in Wakefield I.
25
26         After the appeal, the district court entered the Amended Judgment awarding Plaintiff
27   damages, but the original Judgment was not superseded by the later Amended Judgment.
28                                            21
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 1   Rather, the Amended Judgment states “[t]his judgment incorporates and supplements the
 2
     injunctive order previously entered against Defendants. See SGD at ¶76. Accordingly,
 3
 4   there was no subsequent broadening of the injunctive relief granted in the Judgment.
 5   Anything arguing to the contrary is a misinterpretation of the district court and the Ninth
 6
     Circuit’s rulings. Further, the Judgment, the Ninth Circuit Memorandum, and the Amended
 7
 8   Judgment are devoid of any language requiring Defendants to investigate and/or identify
 9
     any potential additional copies of the sculpture. As such, there was no violation.
10
11         Next, Plaintiff makes the unsupported legal conclusion that the mere fact that the
12
     Boynton Beach sculptures existed and were on display means that Defendants violated the
13
14   injunction and that the purported infringement was willful. The only support Plaintiff

15   provides is an application to the City of Boynton Beach for Art in Public Places for these
16
     pieces to be part of that program. As discussed in more detail in Section VII(A), supra, the
17
18   only person involved was Alfred Lafave, who left employment with Olen Properties around
19
     March 14, 2014. SGD at ¶56, 58-59, long before the Judgment was entered or the
20
21   Settlement Agreement was negotiated and signed. Accordingly, at the time of the entry of
22   the Judgment for injunctive relief in Wakefield I, Defendants were unaware that the
23
     sculptures were on display at Quantum Town Center. See SGD at ¶48-52. Again, Plaintiff
24
25   did not have any facts to contest this testimony. See SGD at ¶60-61, 65-69).
26
27
28                                                 22
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 1         In short, how could Defendants destroy sculptures that they did not even know
 2   existed? Under these circumstances, there was no willfulness. Plaintiff wants to impute
 3
     knowledge on Defendants despite repeated evidence that they did not have any independent
 4
     recollection of the Boynton Beach sculptures nor were aware that they were on display.
 5
 6         Finally, the Judgment in Wakefield I clearly states that “(6) The Court expects strict
 7   compliance with this Judgment, unless the parties mutually agree otherwise.” See SGD at
 8
     ¶73 (emphasis added). In his Motion, Plaintiff failed to include the second, emphasized
 9
     portion of this paragraph, perhaps to sway the Court to believe that there was no caveat
10
11   wherein the Court left it to the parties to amend the relief, if desired. In reality, the parties
12   did mutually agree otherwise when they entered into the Settlement Agreement. Paragraph
13   3.1, which was Wakefield’s general release of claims in favor of Defendants, included a
14
     sentence that was crossed out and initialed by the parties. SGD at ¶11. The crossed-out
15
16   language providesd “Nothing in this Agreement shall be construed to mean that Wakefield

17   is waiving or releasing claims to enforce this Agreement, or any relief granted in the 2012
18   Action.” SGD at ¶12. Accordingly, the implication was that Wakefield was waiving
19
     enforcement of the relief granted in Wakefield I. SGD at ¶13-15. Therefore, Defendants
20
     did not violate the Judgment.
21
22        C. Plaintiff’s Claim that Olen Submitted a False Declaration is Without Merit
                                  and does Not Establish Willfulness
23
24         In Wakefield II, in response to a Motion for Sanctions for Defendants’ failure to
25
     disclose additional copies, Defendants admitted and put Plaintiff on notice that they had no
26
27
28                                                  23
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 1   independent recollection, inventory, records, or other method of identifying the total
 2
     number of pieces of the subject sculptures. SGD at ¶63. Specifically, Mr. Olenicoff stated:
 3
 4               3. The pieces ordered from China were received in various shipments, there
           were numerous complications after the orders were placed, and at times the
 5         shipments contained less items than expected or alternate pieces that were not
 6         even ordered. In short, the delivery of the sculptures was entirely disorganized.
 7
                  4. Neither Olen nor I maintained any records of what items were received
 8         from China or the locations where the sculptures were installed, as these pieces,
 9         like all the others in the Olen collection, were simply not a prominent part of the
           business operations of Olen.
10
11                5. Olen has artwork and sculptures at nearly every property in its portfolio
           which includes over six million square feet of office space. Additionally, there are
12
           hundreds of pieces of artwork and sculptures at the Olen headquarters. The Olen
13         art collection pieces were acquired and placed over the last five decades to satisfy
14         my personal passion for art, and not for any commercial purpose.

15                6. By the time of the Original lawsuit and the related discovery process, I
16         had no independent recollection of the details of the purchase of sculptures from
           China. Had any further inquiry been done by Wakefield on the issue of placement
17         of a piece at 2 Venture in Irvine, the Olen Parties would have informed him that
18         there are no business records at Olen, or kept personally by me, to verify the exact
           number or location of the "Human Nature's Many Faces" sculpture and the
19
           responses provided in discovery were based solely upon the memory of the
20         individuals involved and interviews with existing operational staff.
21
     SGD at ¶64. Therefore, it is disingenuous for Plaintiff to argue that Defendant filed a false
22
23   declaration when the Declaration specifically states that Defendants admitted that they had
24
     no independent recollection, records, or other method of identifying the total number or
25
26   location of sculptures. Further, Defendants have put forth evidence that they did not have

27   any independent recollection of the Boynton Beach sculptures nor were aware that they
28                                                 24
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 1   were on display in Florida. See SGD at ¶48-53. Finally, as stated in Section VII(B), supra,
 2
     the understanding and intent of the Judgment was to destroy the sculptures which were the
 3
 4   subject of Wakefield I, which Defendants did.
 5          VIII. THE COUNTERCLAIMS AND SETTLEMENT AGREEMENT
 6
           The Settlement Agreement has complete preclusive effect on Plaintiff’s causes of
 7
 8   action in the instant lawsuit. The alleged infringement involving the Boynton Beach
 9   sculptures was not a future intentional wrongdoing. The sculptures were on display, by
10
     Plaintiff’s own admission, back in 2014. Thus, it was an existing claim, albeit potentially
11
     unknown or unsuspected by Plaintiff, at the time that the parties entered into the Settlement
12
13   Agreement in 2018. Plaintiff cannot seriously dispute that his claim arose prior to the date
14   of the Settlement Agreement. Also, Plaintiff cannot rely on a mere legal conclusion that
15   the infringement was willful when he has submitted no evidence in this case to substantiate
16
     that claim. As such, Plaintiff has, in fact, breached the Settlement Agreement by bringing
17
18   this action, and he is not entitled to summary judgment on the Counterclaims.

19                                        IX. CONCLUSION
20
           In conclusion, determination regarding the enforceability of the Settlement
21
     Agreement is a predicate to deciding any of Plaintiff’s claims for copyright infringement.
22
23   If the Court agrees with Defendant’s position, Wakefield’s claims are barred by the
24   Settlement Agreement, in which the parties declared their intention to release all claims,
25   including unknown or unsuspected claims and all future claims. Plaintiff’s claims are also
26
     barred by the statute of limitations, as the claims accrued in 2014 and Plaintiff did not bring
27
28                                                  25
                                                                      CASE NO. 8:21-cv-1585-CJC-DFM
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 1   the instant lawsuit until 2021. Finally, Plaintiff has failed to establish any facts showing
 2   willfulness or fraud on the part of either of the Defendants to justify rescinding the
 3
     Settlement Agreement.
 4
           WHEREFORE Defendants, OLEN PROPERTIES CORP. and IGOR OLENICOFF,
 5
 6   respectfully request that this Honorable Court deny Plaintiff’s Motion, enter judgment in
 7   favor of Defendants and against Plaintiff, DONALD WAKEFIELD as to Plaintiff’s
 8
     Complaint; enter judgment in favor of Defendants and against Plaintiff, as to Defendants’
 9
     Counterclaims for Breach of Settlement Agreement and Specific Performance, and grant
10
11   such other and further relief as this Court deems just and proper.
12         Dated: December 12, 2022.
13
                                             /s/ Spencer Sax
14                                           SPENCER M. SAX
15                                           SACHS SAX CAPLAN
                                             Attorneys for Olen Properties Corp. and Igor
16
                                             Olenicoff
17
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28                                                 26
                                                                     CASE NO. 8:21-cv-1585-CJC-DFM
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 1                               CERTIFICATE OF SERVICE
 2
            I hereby certify that on December 12, 2022, the attached document was
 3   electronically transmitted to the Clerk of the Court using the CM/ECF System which
 4   will send a Notice of Electronic Filing to the following CM/ECF registrants:
 5   Marc N Bernstein
 6   Business Litigation Group PC
     150 Spear Street Suite 800
 7
     San Francisco, CA 94105
 8
 9   William J O'Brien
     One LLP
10   23 Corporate Plaza Drive, Suite 150-105
11   Newport Beach, CA 92660
12
     Gene J. Brockland
13   SmithAmundsen LLP
14   120 South Central, Suite 710
     St. Louis, MO 63105
15
16
17
18
           I declare under penalty of perjury under the laws of the State of California and the
19
     United States of America that the foregoing is true and correct. Executed on December
20   12, 2022 at Newport Beach, California.
21
22
23                                          /s/Kaelee Gifford
                                            Kaelee Gifford
24
25
26
27
28


                                                                     CERTIFICATE OF SERVICE
                                                                 Case No. 8:21-cv-01585-CJC-DFM
